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United States Department of Justice
Office of the United States Trustee
300 Plaza Tower
110 N. College
Tyler, Texas 75702
(903) 590-1450

                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

In re:                                                        §             Chapter 11
                                                              §
ZENERGY BRANDS, INC., et al., 1                               §             Case No. 19-42886
                                                              §
                                                              §             (Jointly Administered)

         APPOINTMENT OF OFFICIAL UNSECURED CREDITORS’ COMMITTEE



        Comes Now the United States Trustee and, pursuant to 11 U.S.C. §1102(a)(1), appoints
the following persons to the Official Unsecured Creditors’ Committee in the above styled and
numbered case:

Brett Rosen- Interim Chairman
RB Capital Partners, Inc.
2856 Torrey Pines Rd
La Jolla, CA 92037
(619) 392-9829
Brett.rosen325@gmail.com

Michael Ziegler
1611 Maxwell Court
Euless, TX 76039
(817) 690-5768
mickziegler@sbcglobal.net


1 The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC
(8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and
Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano,
TX 75024.
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Ashley Gee
3314 Rolling Hills
Flower Mound, TX 75022
(940) 231-3019
ashleykgee@yahoo.com




Dated: November 4, 2019                                                  Respectfully submitted,

                                                                         William T. Neary
                                                                         United States Trustee

                                                                         /s/ John Vardeman
                                                                         Trial Attorney
                                                                         Texas Bar 20496260
                                                                         300 Plaza Tower
                                                                         110 N. College
                                                                         Tyler, Texas 75702
                                                                         (903) 590-1450 Ext. 218



                                            Certificate of Service

The undersigned hereby certifies that a copy of the foregoing document was served on the
following listed persons through the court’s electronic notification system as permitted by
Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of
Texas, or by first class United States Mail, postage prepaid, no later than the 5th day of
November, 2019.

                                                                         /s/ John Vardeman
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DEBTORS
Zenergy Brands, Inc.
5700 Granite Parkway, Suite 200
Plano, TX 75024

Zenergy Labs, LLC
5700 Granite Parkway, Suite 200
Plano, TX 75024

Zenergy Power & Gas, Inc.
5700 Granite Parkway, Suite 200
Plano, TX 75024

Enertrade Electric, LLC
5700 Granite Parkway, Suite 200
Plano, TX 75024

Zen Technologies, Inc.
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Plano, TX 75024

Zenergy & Associates, Inc.
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Naup Brokerage, LLC
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DEBTORS’ COUNSEL
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COMMITTEE
Brett Rosen
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2856 Torrey Pines Rd
La Jolla, CA 92037
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NOTICE OF APPREARANCE
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Steven Boss
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Dallas, TX 75225

20 largest unsecured creditors
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Free & Free Enterprises, LLC
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Donald R. Miller
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Viridian International
Attn: Officer or Director
1055 Washington Blvd. 7th Floor
West Hartland, CT 06091

Librerty Trust Co. LTD
custodian FBO Michael A. Ziegler, IRA
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Euless, TX 76039

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Bellridge Capital
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Attn: Officer or Director
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Ashley Steffan
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Flower Mound, TX 75022

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New York, NY 10005

Greentree Financial Group, Inc.
Attn: Officer or Director
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Cornelius, NC 28031

Power Up Lending Group Ltd.
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c/o Naidich Wurman LLP
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Alex Rodriguez
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Sharing Services, Inc. et al
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Counsel for TCA Special Situations Credit Strategices ICAV
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Government Units
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Philadelphia, PA 19101-7346

Internal Revenue Service
Attn: Centralized Insolvency Operation
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Philadelphia, PA 19104-5016
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